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      EXHIBIT 104
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                     Subject: Communication MPS cuts to Foxconn
                       From: "Priya Balasubramaniam"
                Received(Date): Sat, 03 Nov 2018 04:38:50 +0000
                          To: "Jeff Williams"                        >, "sabih khan"
                          Cc: "Daniel Rosckes"                        >, "David Tom"
                                                      >,"Roland Lue"                 >, "Dheeraj Chugh"

                          Date: Sat, 03 Nov 2018 04:38:50 +0000

               Hi Sabih/ Jeff,

               We communicated that MPS changes will be published tonight to Foxconn (Andrew). I indicated
               there would be cuts on N84 this quarter and next quarter and upsides on sustaining next quarter.

               I told him we wanted to be upfront and communicate early so they can plan.

               Andrew's exact words were "take care of us on sustaining, we will manage NPI cuts. Don’t
               worry”

               They will see all the details tonight. They will see a ~7M unit drop for this quarter across N84,
               D32 (they are sole sourced), D10 and D11. For next quarter they will see a 1M increase. Net
               across two quarters they will see a 6M unit drop.

               Based on Andrew’s reaction on the call, they may not reach out to you - but in case Terry/ Louis
               reach out to you we wanted to make sure you were aware.

               Note: we have removed Wistron from N84 plans and will not qualify them any more.

               Thanks

               Priya




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